Case 1:04-cv-01288-.]DT-STA Document 43 Filed 08/26/05 Page 1 of 3 PagelD 64

,c;<,
.`£\O
G)»
iN THE UNITED sTATEs DIsTRiCT CoURT 05406 §
FoR THE WESTERN DISTRICT oF TENNESSEE* 36 ,% Oe
EASTERN Dl\/ISIoN ngpa /.'34
/Owar§§;il//
`“" x if , /v/\O
l“!’<f n OUl,J/.
TERRETTA WEBB, 'U, ' ’
Plaintiff,

VS. No. 04-1288-T/An

STANLEY JONES REALTY, INC.,

Defendant.

\-,/\_/\-.,/\_/\_/\-,/\_/\_/\-.,/

 

ORDER GRANTING MOTION FOR CLARIFICATION

 

On August ll, 2005, the Court entered an order granting defendant Stanley J ones
Realty, Inc. ’ s second motion to dismiss That motion sought dismissal of the cause of action
for slander asserted in the amended complaint filed by plaintiff Terretta Webb. On August
25, 2005, plaintiff filed a combination motion for clarification of the August ll order and
motion to further amend her complaint.]

Plaintiff points out that her amended complaint, filed June 27, 2005, added both the
cause of action for slander and a Specific claim of retaliation under the F amin and Medical

Leave Act (“FMLA”), 29 U.S.C. § 2601 et Seq.2 In the August ll order the Court simply

 

l In the future, unless the relief sought is in the alternative, e.g., a motion to dismiss or for summary
judgment, or a motion to dismiss or for transfer, etc., the parties should file separate motions and memoranda for
each type of relief sought.

2 ln the April 6, 2005 order denying defendant’s motion to dismiss the original complaint, the Court found
that while plaintiff did not use the word “retaliation,” she had stated a minimal claim of retaliation under the FMLA.
The Court also found that plaintiff had Stated a claim under the FMLA for interference With her right to take leave.

Thls document entered on the docket sheet tn complian
with ama sa and,'or_?s (a) FacP on 05 ' -GS ce

@

Case 1:04-cv-01288-.]DT-STA Document 43 Filed 08/26/05 Page 2 of 3 Page|D 65

ruled that the defendant’s motion to dismiss was granted, without specifically stating that
the retaliation claim had not been challenged Therefore, plaintiff requests that the Court
clarify that only the claim of slander was dismissed, not the retaliation claim.

The motion to clarify is GRANTED. The only cause of action dismissed in the
August l l order was plaintiffs claim of slander. Her claim of retaliation for taking FMLA-
qualifying leave remains pending, as does her claim under the FMLA for interference with
her right to leave, Which was asserted in the original complaint

Plaintiff also complains because the Court failed to address her request to further
amend her complaint if the allegations of slander were deemed inadequate to state a claim.
However, that request to amend was contained only in plaintiffs response to defendant’s
motion to dismiss, not in a proper motion complying with Local Rule 7.2(a)(l).

As indicated, plaintiff has now filed an motion to amend, albeit in combination with
her motion for clarification ln accordance with Local Rule 72.] and Administrative Order
03-23, the Magistrate Judge will issue a separate ruling on the motion to amend.

IT IS SO ORDERED.

OMMM

S D. TODD
UN ED STATES DISTRICT JUDGE

DATE& a M§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:04-CV-01288 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/lemphis7 TN 38120

Mark E. Stamelos
KING & BALLOW

315 Union Street

1 100 Union Street Plaza
Nashville, TN 37201

Honorable J ames Todd
US DISTRICT COURT

